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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                               :              CRIMINAL ACTION
                                                       :
                                                       :              No. 19-717
                       v.                              :
                                                       :
WILLIAM A. MERLINO                                     :
                                                       :


                                              ORDER

    This 3rd day of August, 2021, for the reasons that follow, it is hereby ORDERED that

Defendant’s Motion to Continue (ECF 30) is DENIED. Defense counsel does not face an

irreconcilable scheduling conflict, and the pendency of an earlier listing significantly in advance

of this case should not prevent counsel from preparing for trial. Although the Court strives to

accommodate counsel, in a pandemic environment, trial listings are scarce and precious

resources, with the result that even modest continuances can create significant scheduling

problems both for the case in which a continuance is requested and for other cases on the Court’s

docket. If, from a public health perspective, conditions permit trial to proceed on October 25th as

currently scheduled, trial will commence. This Order is without prejudice to either counsel’s

ability to request an adjustment of pretrial deadlines as necessary to facilitate preparation for

trial.




                                                                  /s/ Gerald Austin McHugh
                                                                    United States District Judge
